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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION




  CHRIMAR SYSTEMS, INC., et al.,
                                                        6:15–CV–618–JRG–JDL (LEAD)
                         Plaintiffs,
  v.
                                                        Patent Case
  ADTRAN INC., et al.,
                                                        Jury Trial Demanded
                         Defendants.


  DELL, INC. AND AEROHIVE NETWORKS, INC.                6:15–CV–639–JRG–JDL (CONSOLIDATED)



                          AEROHIVE NETWORKS, INC.’S OFFER OF PROOF

         Defendant Aerohive Networks, Inc. (“Aerohive”) respectfully makes this offer of proof

  pursuant to Federal Rule of Evidence 103(a)(2).

         If allowed to do so, Aerohive would have introduced the following evidence at trial: (1)

  documents related to recent settlements between Chrimar and Defendants AMX, LLC, EnGenius

  Technologies, Inc., Costar Technologies, Inc., and Dell Inc., (2) documents and testimony related

  to Chrimar’s participation in the IEEE, and (2) documents and testimony related to Chrimar’s

  damages expert, Mr. Mills’s discriminatory royalty rates.




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  January 6, 2017                     Respectfully submitted,

                                      By: /s/ Ryan R. Smith
                                      Ryan R. Smith (CA Bar No. 229323)
                                      Mary Procaccio-Flowers (CA Bar No. 286936)
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                                      Counsel for Defendant Aerohive Networks, Inc.




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                                     CERTIFICATE OF SERVICE

         I certify that on January 6, 2017, I caused true and correct copies of the foregoing to be

  filed and served via the Court’s CM/ECF system.


                                                       /s/ Ryan R. Smith
                                                       Ryan R. Smith




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